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 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                                EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                               )       No. 1:05cr00127 OWW
                                                             )
12                          Plaintiff,                       )       STIPULATION AND ORDER TO
                                                             )       CONTINUE CHANGE OF PLEA
13                                                           )       HEARING
                             v.                              )
14                                                           )
     SERAFIN RODRIGUEZ MENDOZA, et al.,                      )
15                                                           )
                            Defendants.                      )
16                                                           )

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            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
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     counsel, VIRNA L. SANTOS and SHEILA OBERTO, Assistant United States Attorneys for the
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     government, and ANTHONY P. CAPOZZI, attorney for SERAFIN RODRIGUEZ MENDOZA
23
     and ERIC V. KERSTEN, attorney for ROSA LOPEZ MENDOZA, to continue the change of plea
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     hearing for both defendants from July 24, 2006 to a new date of August 28, 2006 at 9:00 a.m.
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            This continuance is necessary to permit defendants to obtain a significant portion of the
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     estimated restitution prior to the entry of plea, as required the terms of the plea agreement. If the
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     matter should not be resolved additional time is needed by defendants to complete their
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 1   investigation anticipation of trial.

 2           All parties stipulate that time shall be excluded for the above purposes until the new

 3   hearing date of August 28, 2006, pursuant to 18 U.S.C. § 3161(h)(8)(A).

 4   IT IS SO STIPULATED,

 5   Dated: July 15, 2006
                                                           /s/ Virna L. Santos
 6                                                          VIRNA L. SANTOS
                                                           Assistant U. S. Attorney
 7
     Dated: July 12, 2006                                  /s/ Anthony P. Capozzi
 8                                                         ANTHONY P. CAPOZZI
                                                           Attorney for Serafin Rodriguez Mendoza
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10   Dated: July 12, 2006                                  /s/ Eric V. Kersten
                                                           ERIC V. KERSTEN
11                                                         Attorney for Rosa Lopez Mendoza

12                                                 ORDER

13           The parties stipulated request to continue the hearing on this matter to August 28, 2006 at

14   9:00 a.m. is hereby GRANTED. Time shall be excluded pursuant to 18 U.S.C. § 3161(h)(8)(A)

15   at both parties request to allow for further investigation by defense counsel.

16   IT IS SO ORDERED.

17   Dated: July 15, 2006                              /s/ Oliver W. Wanger
     emm0d6                                       UNITED STATES DISTRICT JUDGE
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